     

Case 2:20-cr-00015-Z-BR Document 773 Filed 09/11/20 Page 1lO$. Drs

ORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT jCOURT FILED
FOR THE NORTHERN DISTRICT OR TEXAS

 
    

AMARILLO DIVISION SEP | | 2p
UNITED STATES OF AMERICA inf 8 DSIRE Cou
Plaintiff, § Deputy
v. 2:20-CR-15-Z-BR-(15)
JUAN ARTURO MARTINEZ
Defendant.

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On August 27, 2020, the United States Magistrate Judge issued a Report and Recommendation
Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant
Juan Arturo Martinez filed no objections to the Report and Recommendation within the fourteen-day
period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters of
record in the above referenced cause—including the elements of the offense, Factual Resume, Plea
Agreement, and Plea Agreement Supplement—and thereby determined that the Report and
Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by the
United States District Court. Accordingly, the Court hereby FINDS that the guilty plea of Defendant
Juan Arturo Martinez was knowingly and voluntarily entered; ACCEPTS the guilty plea of Defendant
Juan Arturo Martinez; and ADJUDGES Defendant Juan Arturo Martinez guilty of Count Twenty-
Two in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Sentence will be imposed in accordance

with the Court’s sentencing scheduling order.

SO ORDERED, September (1 , 2020.

MATVHEW J. KACSMARYK _.
UNIYED STATES DISTRICT JUDGE

 

 
